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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION


 PLANNED PARENTHOOD MINNESOTA,                      )
 NORTH DAKOTA, SOUTH DAKOTA, et                     )
 al.,                                               )
                                                    )
                               Plaintiffs,          )
                                                    )
        v.                                          )
                                                    )
 KRISTI NOEM, Governor, et al.,                     )
                                                    )
                               Defendants,          )         Civ. 11-4071-KES
                                                    )
 ALPHA CENTER, et al.,                              )
                                                    )
                               Intervenors.         )
                                                    )



                 JOINT MOTION BY PLAINTIFFS AND DEFENDANTS
                        TO DISMISS WITHOUT PREJUDICE
             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2)



       Plaintiffs Planned Parenthood Minnesota, North Dakota, South Dakota, and Sarah A.

Traxler, M.D. (together, “Plaintiffs”), on behalf of themselves and their patients, physicians, and

staff, and Defendants Governor Kristi Noem, Attorney General Mark A. Vargo, Secretary Joan

Adam, and Phillip Meyer, D.O., in their official capacities (together, “Defendants”) respectfully

move this Court to dismiss this action without prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(2) because the action has become moot. Due to the Supreme Court’s decision in

Dobbs v. Jackson Women’s Health Organization (“JWHO”), 142 S. Ct. 2228 (2022), and the

resulting triggering of South Dakota’s “Trigger Ban,” S.D. Codified Laws § 22-17-5.1 (2005),


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Plaintiffs are no longer providing abortions in South Dakota. A live case or controversy thus no

longer exists. Plaintiffs and Defendants have entered into the Stipulation attached as Exhibit A,

setting forth the terms on which they have agreed to dismiss, and for which they seek approval of

the Court.

       Intervenors Alpha Center and Black Hills Crisis Pregnancy Center (together,

“Intervenors”) have indicated that they oppose dismissal of the action on the terms reflected in the

Stipulation of Dismissal. Plaintiffs and Defendants thus seek to voluntarily dismiss this action

pursuant to Federal Rule of Civil Procedure 41(a)(2), which provides that “an action may be

dismissed at the plaintiff’s request . . . by court order, on terms that the court considers proper.”

Fed. R. Civ. P. 41(a)(2).

       Given that the action has become moot and that dismissing the action will not waste judicial

resources or prejudice Intervenors, Plaintiffs, and Defendants respectfully request that the Court

exercise its discretion to dismiss the action.

                                    I.       BACKGROUND

       The Court is well aware of the background of this litigation. As relevant to the Motion to

Dismiss, the remaining elements of the action come in two groups. In the first group are Plaintiffs’

challenges to S.D.C.L. 34-23A-56(3), 59, and 61(4). See ECF #374 at 5-9 (summarizing these

challenged provisions).      These collectively relate to Pregnancy Help Center counseling

requirements applicable to abortion services (“PHC Requirements”) and have been preliminarily

enjoined by the Court. The second group of claims challenge S.D.C.L. 34-23A-53 to 62 (2012),

as amended by South Dakota H.B. 1237, 2013 Leg. Reg. Sess. (S.D. 2013), codified at South

Dakota Codified Laws Chapter 34-23A-56, and by South Dakota S.B. 110, 2018 Leg. Reg. Sess.

(S.D. 2018), codified at South Dakota Codified Laws Chapters 34-23A-59 and 74 to 88

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(“Amended Act”). These claims more broadly challenge the Amended Act as having been enacted

with an unconstitutional improper purpose (Sixth Amended Complaint Count 1) and allege that

the Amended Act violates Separation of Powers principles (Sixth Amended Complaint Count 8).

These claims are not encompassed in the preliminary injunction.

       Both groups of claims are premised on Plaintiffs’ provision of abortion services in South

Dakota at Planned Parenthood’s Sioux Falls, South Dakota clinic. Those services ended after the

Supreme Court issued its decision in JWHO and S.D. Codified Laws § 22-17-5.1 took effect. Since

then, Plaintiffs and Defendants have engaged in discussions regarding resolution of Plaintiffs’

claim for attorneys’ fees previously awarded by the Court in ECF ##s 110 and 118 and potential

claim for additional attorneys’ fees by virtue of the preliminary injunction.        Plaintiffs and

Defendants recently resolved that issue, as reflected in the Stipulation for Dismissal attached as

Exhibit A.

                                   II.        ARGUMENT

       Once a defendant has filed an answer, as Defendants have done in this action, Federal Rule

of Civil Procedure 41(a)(1) provides that a plaintiff may only voluntarily dismiss an action without

a court order through “a stipulation of dismissal signed by all parties who have appeared.” Fed.

R. Civ. P. 41(a)(1)(A); see also Thatcher v. Hanover Ins. Grp., Inc., 659 F.3d 1212, 1213 (8th Cir.

2011). Although Plaintiffs and Defendants have jointly signed a stipulation of dismissal (“Exhibit

A”), Intervenors have declined to join Plaintiffs and Defendants in signing this stipulation.

Plaintiffs thus seek a court order dismissing the action pursuant to Federal Rule of Civil Procedure

41(a)(2).

       Under Rule 41(a)(2), the “decision whether to allow a party to voluntarily dismiss a case

rests upon the sound discretion of the court.” Hamm v. Rhone-Poulenc Rhorer Pharmaceuticals,

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Inc., 187 F.3d 941, 950 (8th Cir. 1999). In exercising that discretion, “a court should consider

factors such as whether the party has presented a proper explanation for its desire to dismiss;

whether a dismissal would result in a waste of judicial time and effort; and whether a dismissal

will prejudice the defendants.” Id. (citations omitted).

       All three factors weigh in favor of dismissing this action. First, the Supreme Court’s

decision in JWHO and the resulting triggering of South Dakota’s Trigger Ban have prevented

Plaintiffs from providing abortions in South Dakota, rendering this action moot.            Second,

dismissing this action would not waste and would, in fact, conserve judicial time or resources as

there is no longer a live controversy to resolve. Third, dismissing this action will not prejudice

Defendants, who have joined the motion. Nor would Intervenors face prejudice should the case

be dismissed — as originally stated by Intervenors when moving to intervene in this action, the

dismissal of this lawsuit would affirmatively serve Intervenors’ interests.

A.     The Supreme Court’s ruling in JWHO and the resulting triggering of South Dakota’s
       Trigger Ban have mooted this action.

       First, Plaintiffs and Defendants have proffered a “proper explanation” for moving to

dismiss the lawsuit: the Supreme Court’s ruling in JWHO and the resulting triggering of South

Dakota’s Trigger Ban have rendered the action moot. Under Article III of the U.S. Constitution,

federal courts may only “adjudicate actual, ongoing cases or controversies.” Potter v. Norwest

Mortg., Inc., 329 F.3d 608, 611 (8th Cir. 2003). As a result, “[w]hen an action no longer satisfies

the case or controversy requirement, the action is moot and a federal court must dismiss the action.”

Id.

       On June 24, 2022, the Supreme Court issued its decision in JWHO, holding that the U.S.

Constitution does not protect the right to obtain an abortion and thereby overruling Roe v. Wade,

410 U.S. 113 (1973), and Planned Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S.
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833 (1992). In doing so, JWHO triggered S.D. Codified Laws § 22-17-5.1, more commonly known

as South Dakota’s “Trigger Ban,” which purports to ban abortion in all cases except medical

emergency if Roe were ever overruled. The threat of enforcement of the Trigger Ban1 has now

prevented Plaintiffs from providing any abortions in South Dakota.

       Now that Plaintiffs are no longer providing abortions in South Dakota, the legal challenges

that Plaintiffs raised in this action have become moot. In this action, Plaintiffs had challenged the

constitutionality of South Dakota House Bill 1217, which (1) “require[d] a pregnant woman to

consult with a registered ‘pregnancy help center’ before she is able to undergo an abortion”; (2)

“establishe[d] at least a three-day waiting period between the pregnant woman’s initial

consultation with her physician and the abortion”; (3) “impose[d] a duty on the physician to certify

that the pregnant woman has not been ‘coerced’”; and (4) “establishe[d] what information the

physician must tell a pregnant woman with regard to the ‘complications associated with abortion.’”

Planned Parenthood Minn., N.D., S.D. v. Daugaard, 799 F. Supp. 2d 1048, 1052 (D.S.D. 2011).

By definition, each of those provisions only regulates the conduct of physicians and staff who seek

to provide abortions. Because Plaintiffs are no longer providing abortions in South Dakota, none

of those provisions regulate Plaintiffs’ conduct or the conduct of its patients, physicians, and staff.

In short, Plaintiffs now “lack a legally cognizable interest in the outcome,” and a live case or




1
  Governor Noem stated on June 24, 2022, that “South Dakota’s trigger law, found in SDCL 22-
17-5.1, provides that as of today, all abortions are illegal in South Dakota ‘unless there is
appropriate and reasonable medical judgment that performance of an abortion is necessary to
preserve the life of the pregnant female.’” See Gov. Noem and Legislative Leaders Announce
Plans for Special Session to Save Lives, Help Mothers, S.D. State News (June 24, 2022),
https://news.sd.gov/newsitem.aspx?id=30323. Plaintiffs have not historically provided abortions
in South Dakota under circumstances where the woman’s life is in jeopardy, and have no intent to
provide such procedures in the future.
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controversy no longer exists. Teague v. Cooper, 720 F.3d 973, 976 (8th Cir. 2013) (quoting

Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)).2

       This is therefore not a case in which a party seeks dismissal “‘in order to gain some kind

of strategic advantage’ or as an exercise of ‘procedural gamesmanship.’” United States v. Thirty-

two thousand eight hundred twenty dollars & fifty-six cents ($32,820.56) in U.S. Currency, 838

F.3d 930, 937 (8th Cir. 2016). Far from it; Plaintiffs do not stand to gain any sort of advantage

from the dismissal of this action. Nor do Plaintiffs seek to “use voluntary dismissal as an avenue

for seeking a more favorable forum.” Thatcher, 659 F.3d at 1214. Rather, Plaintiffs and

Defendants file this motion due to a simple and unavoidable fact: the claims are no longer

justiciable. In fact, because mootness is jurisdictional, it would make no difference if Plaintiffs and

Defendants did want the Court to continue adjudicating this case (and it does not matter if

Intervenors would prefer continued adjudication); the Court would nevertheless need to dismiss it.

POET Biorefining — Hudson, LLC v. U.S. EPA, 971 F.3d 802, 805 (8th Cir. 2020). Parties may

not “invoke the judicial power of the United States to decide questions over which this Court has

no jurisdiction.” Id. (quoting South Dakota v. Hazen, 914 F.2d 147, 149 (1990)).

       As Plaintiffs and Defendants understand it, Intervenors believe the case is not moot and

may wish to obtain adjudication as to certain arguments (including new arguments not raised in

all the years of this litigation). But, Intervenors have never brought an independent claim or



2
   Nor could Intervenors argue that the “capable of repetition, yet evading review” exception to
mootness applies. As an initial matter, the purpose of this exception is to allow judicial review
when the “challenged” conduct is capable of repetition, not when the plaintiff’s conduct is capable
of repetition. FEC v. Wis. Right to Life, Inc., 551 U.S. 449, 462 (2007) (quoting Spencer v. Kemna,
523 U.S. 1, 17 (1998)) (emphasis added). And in any event, even if the threat of enforcement were
to shift such that Plaintiffs could again provide abortions in South Dakota, Plaintiffs’ conduct
would not be “in its duration too short to be fully litigated prior to cessation or expiration.” Id.
(quoting Spencer, 523 U.S. at 17).
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counterclaim in this action. See F.D.I.C. v. United States, No. CV-96-98-ST, 1997 WL 214954,

at *6 (D. Or. Jan. 3, 1997) (“Absent an independent claim, an intervenor cannot keep a lawsuit

alive which the original parties wish to end. . . . [R]egardless of the basis for intervention, an

intervenor can acquire no greater rights through intervention than it possessed prior to

intervention.”); see also id. (collecting cases in which intervenors oppose dismissal and

distinguishing cases in which intervenor has a separate independent claim it can pursue). Simply

put, Intervenors cannot keep this action alive when there is no longer a present case or controversy

so that Intervenors may obtain what would amount to an advisory opinion on its arguments.

Robinson v. Pfizer, Inc., 855 F.3d 893, 897 (8th Cir. 2017) (“[I]t goes without saying that advisory

opinions are not within our Article III power.”)

B.     Dismissing this lawsuit will not waste judicial time or effort.

       Second, dismissing this lawsuit will not waste judicial time or effort. Although the parties

have engaged in discovery under the Court’s oversight, the Court has not yet ruled on dispositive

motions and trial has not commenced. Rather, judicial time and effort would be more severely

wasted by the opposite: continuing to adjudicate this lawsuit even though it has become moot.

       Of course, this Court has already spent time and effort overseeing discovery and

adjudicating several motions. But the Eighth Circuit has made clear that cases may be dismissed

pursuant to Rule 41(a)(2) at stages relatively deep into the litigation, including further stages than

those reached here. The Eighth Circuit has noted that it has upheld the granting of a voluntary

dismissal, for instance, in one case “after some discovery had been completed and the defendants

filed a motion for summary judgment,” and in another case “after the plaintiff had presented all

but one witness at trial.” Mullen v. Heinkel Filtering Sys., Inc., 770 F.3d 724, 728 (8th Cir. 2014).

Here, no party has filed a dispositive motion such as a motion for summary judgment. And in fact,

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even if a party had filed a motion for summary judgment, the Eighth Circuit has held that the filing

of such a dispositive motion does not in and of itself bar voluntary dismissal, even if the motion

were still pending. Metro. Fed. Bank of Iowa, F.S.B. v. W.R. Grace & Co., 999 F.2d 1257, 1262

(8th Cir. 1993). Nor has trial commenced or even been scheduled.

       Rather, judicial resources and time would be severely wasted were this Court to continue

adjudicating the action now that it has become moot. See City of Fort Madison v. Emerald Lady,

990 F.2d 1086, 1089 n.7 (8th Cir. 1993) (noting that rendering a decision that was merely

“academic” would result in a “waste of judicial and party resources”). Judicial resources would

be better served by declining to expend further time and effort towards fashioning what would

ultimately be a mere advisory opinion.

       Moreover, if the Court remains concerned about a waste in judicial time and effort

overseeing the discovery that the parties have already completed and exchanged, Plaintiffs and

Defendants have provided in the Stipulation for Dismissal that they will preserve exchanged

discovery in the event that a future action is filed and the discovery remains relevant and a party

wishes to use such discovery. Rule 41(a)(2) allows the Court to fashion an order containing such

a provision — the Rule makes clear that a court may grant a motion for voluntary dismissal “on

terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2). And the Eighth Circuit has

previously noted that an order containing such a provision would “eliminate[]” the risk of “wasted

litigation expense.” Metro. Fed. Bank of Iowa, F.S.B., 999 F.2d at 1263.

C.     Dismissing this lawsuit will not prejudice Defendants or Intervenors.

       Third and finally, dismissing this lawsuit will not prejudice Defendants or Intervenors. As

indicated above, Defendants join the motion.         Although Intervenors oppose this motion,

Intervenors could not show that they would face any form of prejudice if the action were dismissed.

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To be sure, Intervenors expended time and effort engaging in discovery. But the Eighth Circuit

has made clear that “[t]he expense and effort of drafting and responding to discovery prior to

dismissal does not constitute legal prejudice.” Mullen, 770 F.3d at 728 (emphasis added). Outside

of their expenses engaging in discovery and otherwise litigating this action, Intervenors can point

to no other form of prejudice they would face if the action were dismissed. And, as stated above,

if the Court remained concerned about the loss of time and effort on discovery in this action,

Plaintiffs and Defendants have stipulated to preserve exchanged discovery. In fact, Intervenors

interests would be served by the dismissal of this action as their ultimate goal in this case was to

allow the challenged provision to stand–which would be achieved by dismissal of this action. To

the extent Intervenors have a legally cognizable interest in obtaining adjudication as to certain

arguments regarding the challenged law, they remain free to do so through other legal avenues and

dismissal of this action in no way prejudices their ability to do so.

                                   II.        CONCLUSION

       For the foregoing reasons, Plaintiffs and Defendants respectfully jointly move the Court to

dismiss this action pursuant to Fed. R. Civ. P. 41(a)(2) under the terms stated in the Stipulation to

Dismiss attached as Exhibit A.3

       Dated this 4th day of October, 2022

                                               /s/ Stephen D. Bell
                                               Stephen D. Bell
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   As noted in the stipulation Plaintiffs and Defendants agree to seek vacatur of the preliminary
injunction presently on appeal to the Eighth Circuit Court of Appeals as the appeal is now moot
for the same reasons the action must be dismissed.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 4, 2022, I electronically filed the foregoing with the

 Clerk of the Court for the United States District Court for the District of South Dakota Southern

 Division by using the CM/ECF system. Participants in the case who are registered CM/ECF

 users will be served by the CM/ECF system.

                                                      /s/ Stephen D. Bell
                                                      Stephen D. Bell




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